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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                           )
                                                    )
                Plaintiff,                          )                        Case No. 25mj2303 DLM
                                                    )
        vs.                                         )
                                                    )
GREGORY VANDENBERG,                                 )
                                                    )
                Defendant.                          )

          UNITED STATES’ MOTION TO EXTEND PRELIMINARY HEARING

        The United States hereby moves this Court to extend the preliminary hearing from

Thursday, July 10, 2025, to Friday, July 11, 2025.1 The United States will present this case to the

grand jury on Thursday, July 10, 2025, at the U.S. courthouse in Albuquerque. The United States

thus expects an indictment in this case to be issued later that day—obviating the need for a

preliminary hearing. Therefore, in order to save time and resources, the United States is requesting

that the preliminary hearing be set for Friday, July 11, 2025. If this request is granted, the United

States will ensure that the Court is expeditiously notified of when the indictment is issued so that

the Court can vacate the July 11, 2025, preliminary hearing.

        Defendant is opposed to this motion.

                                                         Respectfully Submitted,

                                                         RYAN ELLISON
                                                         United States Attorney

                                                         ___________________________________
                                                         GRANT B. GARDNER
                                                         Assistant U.S. Attorney


1
  The preliminary hearing has not yet been formally set on the docket. But since Defendant has his initial
appearance this morning (July 7, 2025), and since the United States asked for a three-day continuance of
the preliminary hearing, the United States expects that the preliminary hearing is currently scheduled for
July 10, 2025.
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I HEREBY CERTIFY that I
electronically filed the foregoing using
the CM/ECF system which will send notification to
defense counsel of record by electronic means.
Electronically Filed
GRANT B. GARDNER
Assistant United States Attorney




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